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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  McALLEN DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §    Criminal No. M-07-452
                                                  §
ROBIN NEAL WHITELEY                               §


                          APPLICATION FOR WRIT OF HABEAS
                             CORPUS AD PROSEQUENDUM


TO THE HONORABLE JUDGE OF SAID COURT:


       COMES NOW the United States Attorney, Donald J. DeGabrielle, Jr., in and for the

Southern District of Texas, and shows to the Court that ROBIN NEAL WHITELEY, Prisoner # D-

1754-07, is a defendant in the above-captioned case which currently is scheduled for an Initial

Appearance hearing in the United States Magistrate Court for the Southern District of Texas in

McAllen, Texas at 10:30 a.m. on June 1, 2007. ROBIN NEAL WHITELEY is currently a prisoner

of the Hidalgo County Sheriff’s Department confined at the Hidalgo County Jail in Edinburg, Texas.

       Petitioner further represents that the Sheriff in charge of the Hidalgo County Jail in Edinburg,

Texas will release said prisoner to the custody of the United States Marshal for the Southern District

of Texas or his duly authorized representative upon this writ with the agreement and understanding

that after said prisoner, the defendant in the above-captioned case, has been duly discharged by the

Court, he will be returned by the said United States Marshal into the custody of the Sheriff in charge

of the Hidalgo County Jail in Edinburg, Texas, if said Sheriff so desires.

       WHEREFORE, PREMISES CONSIDERED, the United States prays that this Court issue

an order directing the Clerk of the Court to issue a Writ of Habeas Corpus Ad Prosequendum to the

Sheriff in charge of the Hidalgo County Jail in Edinburg, Texas commanding said Sheriff to
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surrender said prisoner into the custody of the United States Marshal for the Southern District of

Texas or his duly authorized representative in sufficient time for said prisoner to appear in the United

States Magistrate Court for the Southern District of Texas in McAllen, Texas at 10:30 a.m. on June

1, 2007 for an Initial Appearance hearing.


                                                       Respectfully submitted,

                                                       DONALD J. DeGABRIELLE, JR.
                                                       UNITED STATES ATTORNEY

                                                       //s//Juan F. Alanis
                                                       Juan F. Alanis
                                                       Assistant United States Attorney
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